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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION


UNITED STATES OF AMERICA

v.
                                                                  Criminal No. : 7:19CR00104
SETH ISAIAH ADAMS


                       Defendant.

                                             ORDER

         Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, counsel for the United

States is reminded of its disclosure obligation to produce evidence that is favorable to the

defendant and material either to guilt or punishment as required by Brady v. Maryland, 373 U.S.

83 (1963), and its progeny. Failure to adhere to this requirement may result in serious

consequences, including, but not limited to, exclusion of evidence, adverse jury instructions,

dismissal of charges and contempt proceedings or sanctions by the Court.

                                              Entered: April 8, 2021



                                              s/ Michael F. Urbanski
                                              Chief United States District Judge
